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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT COURT OF DELAWARE

QORVO, INC.

               Plaintiff,                             C.A. No. 21-1417 (JPM)

v.

AKOUSTIS TECHNOLOGIES, INC. and                       JURY TRIAL DEMANDED
AKOUSTIS, INC.

               Defendants.



                     THE AKOUSTIS DEFENDANTS’
      MOTION FOR A NEW TRIAL OR IN THE ALTERNATIVE REMITTITUR

       Pursuant to Federal Rule of Civil Procedure 59, defendants Akoustis Technologies, Inc.

and Akoustis Inc. (collectively “Akoustis” or the “Akoustis Defendants”) respectfully move the

Court for an Order granting a new trial (or alternatively remittitur) for the following counts:

       1.      Counts VI and VIII, alleging that Akoustis misappropriated Plaintiff Qorvo Inc.’s

(“Qorvo”) trade secrets for two discrete reasons. First, the Court should grant a new trial on trade

secret damages because the jury returned an inconsistent verdict form. The jury’s verdict form

was inconsistent with the law on trade secret misappropriation damages and the instructions given

to the jury. Allowing that form to stand would be manifestly unjust. Second, for the reasons set

forth in Akoustis’ concurrently filed Renewed Motion for Judgment as a Matter of Law, the jury’s

monetary award for the trade secret claims is based on inadmissible evidence. Ms. Bennis’ unjust

enrichment calculation is based on an unreliable methodology. Ms. Bennis compounds that error

by her improper reliance on Dr. Stanley Shanfield’s speculative opinion regarding the 55-month

duration of Akoustis’ purported head start through trade secret misappropriation. Ms. Bennis’

unreliable testimony requires that this Court order a new trial on damages, or alternatively


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remittitur based on the unjust enrichment calculation submitted by Akoustis’ damages expert in

the amount of $305,000.

       2.      Counts I and II, alleging patent infringement. The jury’s verdict was against the

clear weight of the evidence presented at trial and constitutes a manifest miscarriage of justice. On

their face, the plots resulting from Dr. Shanfield’s simulations that were presented at trial, and

which formed the bases of Qorvo’s expert’s infringement opinion, fail to prove the increase in

performance across the entire pass band of the device as required by the claims. Without such

evidence, Qorvo fails to satisfy its burden of proof regarding infringement and the jury’s verdict

must be set aside.

       The grounds for Akoustis’ motion are set forth in its concurrently filed brief in support,

declarations, and exhibits.




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Dated: June 17, 2024                    /s/ Ronald P. Golden III
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